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                                                                              Document     Page 1 of 51
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Kreutzer, Jeffery J                                                                                          Kreutzer, Amy B


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-3367                                                                                                  xxx-xx-7553
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  2723 Hillsboro Blvd                                                                                         2723 Hillsboro Blvd
  Aurora, IL                                                                                                  Aurora, IL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         60503                                                                                         60503
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Will                                                                                                         Will
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                  Case 11-17672                 Doc 1          Filed 04/26/11 Entered 04/26/11 15:19:17                                      Desc Main
B1 (Official Form 1)(4/10)
                                                                 Document     Page 2 of 51                                                                                 Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Kreutzer, Jeffery J
(This page must be completed and filed in every case)                                   Kreutzer, Amy B
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                  Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                 Judge:

                                       Exhibit A                                                                               Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X    /s/ Orlando Velazquez ARDC No.                         April 15, 2011
                                                                                            Signature of Attorney for Debtor(s)                    (Date)
                                                                                             Orlando Velazquez ARDC No. 6210326

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                  Document     Page 3 of 51                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Kreutzer, Jeffery J
(This page must be completed and filed in every case)                                       Kreutzer, Amy B
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Jeffery J Kreutzer                                                               X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Jeffery J Kreutzer

 X    /s/ Amy B Kreutzer                                                                       Printed Name of Foreign Representative
     Signature of Joint Debtor Amy B Kreutzer
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     April 15, 2011
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Orlando Velazquez ARDC No.
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Orlando Velazquez ARDC No. 6210326                                                       debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      LEDFORD & WU
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      200 S. Michigan Avenue, Suite 209
      Chicago, IL 60604-2406                                                                   Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                             Email: notice@ledfordwu.com
      (312) 294-4400 Fax: (312) 294-4410
     Telephone Number
     April 15, 2011
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Jeffery J Kreutzer
 In re     Amy B Kreutzer                                                                         Case No.
                                                                               Debtor(s)          Chapter    7




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                           Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:            /s/ Jeffery J Kreutzer
                                                                                  Jeffery J Kreutzer
                                                  Date:          April 15, 2011




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Jeffery J Kreutzer
 In re     Amy B Kreutzer                                                                         Case No.
                                                                               Debtor(s)          Chapter    7




                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                           Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
            I certify under penalty of perjury that the information provided above is true and correct.

                                                  Signature of Debtor:            /s/ Amy B Kreutzer
                                                                                  Amy B Kreutzer
                                                  Date:          April 15, 2011




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re          Jeffery J Kreutzer,                                                                       Case No.
                Amy B Kreutzer
                                                                                                    ,
                                                                                   Debtors                Chapter                        7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                          ATTACHED          NO. OF        ASSETS                LIABILITIES                  OTHER
                                                        (YES/NO)         SHEETS

A - Real Property                                         Yes             1                  208,000.00


B - Personal Property                                     Yes             3                   15,300.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                         171,934.00


E - Creditors Holding Unsecured                           Yes             1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             8                                          73,960.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             2                                                                       4,614.35
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       4,593.33
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                21


                                                                    Total Assets             223,300.00


                                                                                     Total Liabilities              245,894.00




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re           Jeffery J Kreutzer,                                                                                 Case No.
                 Amy B Kreutzer
                                                                                                          ,
                                                                                       Debtors                       Chapter               7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                  0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                           0.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                            TOTAL                                 0.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        4,614.35

             Average Expenses (from Schedule J, Line 18)                                                      4,593.33

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         5,602.29


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                         0.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                  0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                             73,960.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         73,960.00




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 In re         Jeffery J Kreutzer,                                                                           Case No.
               Amy B Kreutzer
                                                                                                 ,
                                                                                   Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

Location: 2723 Hillsboro Blvd, Aurora IL 60503                           Joint tenant                J                  208,000.00                171,934.00




                                                                                                 Sub-Total >            208,000.00         (Total of this page)

                                                                                                         Total >        208,000.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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 In re         Jeffery J Kreutzer,                                                                               Case No.
               Amy B Kreutzer
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Cash                                                              J                           100.00

2.    Checking, savings or other financial                Checking- Old Second Bank                                         J                           700.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Misc used household goods and furnishings                         J                        1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                       Books, family pictures, compact discs                             J                           100.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Used clothing                                                     J                           500.00

7.    Furs and jewelry.                                   Wedding rings, costume jewelry                                    J                        1,000.00

8.    Firearms and sports, photographic,                  Camera                                                            J                            25.00
      and other hobby equipment.

9.    Interests in insurance policies.                    Term life insurance via union- no cash surrender                  H                              0.00
      Name insurance company of each                      value
      policy and itemize surrender or
      refund value of each.                               Term life insurance via union- no cash surrender                  W                              0.00
                                                          value

                                                          Each Debtor has a term life insurance policy with                 J                              0.00
                                                          Prudential- no cash surrender value

10. Annuities. Itemize and name each                  X
    issuer.

                                                                                                                            Sub-Total >            3,425.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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 In re         Jeffery J Kreutzer,                                                                               Case No.
               Amy B Kreutzer
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    Union pension- benefits determined at time of                     H                      Unknown
    other pension or profit sharing                       retirement based on years of service
    plans. Give particulars.

13. Stock and interests in incorporated               X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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 In re         Jeffery J Kreutzer,                                                                               Case No.
               Amy B Kreutzer
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2005 Chrysler Town and Country Limited                             J                     10,650.00
    other vehicles and accessories.
                                                          1998 Chrysler Cirrus                                               J                       1,225.00

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              Two dogs                                                           J                             0.00

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >          11,875.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         15,300.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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  In re         Jeffery J Kreutzer,                                                                                    Case No.
                Amy B Kreutzer
                                                                                                           ,
                                                                                       Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                         Each Exemption                              Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
Location: 2723 Hillsboro Blvd, Aurora IL 60503                            735 ILCS 5/12-901                                        30,000.00                      208,000.00

Cash on Hand
Cash                                                                      735 ILCS 5/12-1001(b)                                        100.00                           100.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking- Old Second Bank                         735 ILCS 5/12-1001(b)                                                                700.00                           700.00

Household Goods and Furnishings
Misc used household goods and furnishings                                 735 ILCS 5/12-1001(b)                                        700.00                         1,000.00

Books, Pictures and Other Art Objects; Collectibles
Books, family pictures, compact discs               735 ILCS 5/12-1001(a)                                                              100.00                           100.00

Wearing Apparel
Used clothing                                                             735 ILCS 5/12-1001(a)                                        500.00                           500.00

Furs and Jewelry
Wedding rings, costume jewelry                                            735 ILCS 5/12-1001(a)                                      1,000.00                         1,000.00

Firearms and Sports, Photographic and Other Hobby Equipment
Camera                                          735 ILCS 5/12-1001(b)                                                                    25.00                            25.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Union pension- benefits determined at time of       735 ILCS 5/12-1006                                                                   100%                       Unknown
retirement based on years of service

Automobiles, Trucks, Trailers, and Other Vehicles
2005 Chrysler Town and Country Limited                                    735 ILCS 5/12-1001(c)                                      4,800.00                       10,650.00
                                                                          735 ILCS 5/12-1001(b)                                      5,850.00

1998 Chrysler Cirrus                                                      735 ILCS 5/12-1001(b)                                        625.00                         1,225.00




                                                                                                           Total:                  44,400.00                       223,300.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re         Jeffery J Kreutzer,                                                                                       Case No.
                Amy B Kreutzer
                                                                                                            ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxxxxxx2301                                       Opened 9/01/04 Last Active 7/01/05                         E
                                                                                                                           D

Chase                                                           Mortgage
Po Box 1093
Northridge, CA 91328                                          Location: 2723 Hillsboro Blvd, Aurora IL
                                                            J 60503

                                                                Value $                            208,000.00                           151,070.00                         0.00
Account No. xxxxxxxx3681                                        Opened 4/01/05 Last Active 12/04/10

Chase                                                           Second Mortgage
Po Box 901039
Fort Worth, TX 76101                                          Location: 2723 Hillsboro Blvd, Aurora IL
                                                            J 60503

                                                                Value $                            208,000.00                             20,864.00                        0.00
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
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_____ continuation sheets attached                                                                                                      171,934.00                         0.00
                                                                                                         (Total of this page)
                                                                                                                     Total              171,934.00                         0.00
                                                                                           (Report on Summary of Schedules)

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 In re         Jeffery J Kreutzer,                                                                                                Case No.
               Amy B Kreutzer
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            0         continuation sheets attached
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  In re         Jeffery J Kreutzer,                                                                                      Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
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                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxx1123                                                  Opened 2/22/09 Last Active 8/28/10                            T   T
                                                                                                                                                E
                                                                              CreditCard                                                        D

American Express
c/o Becket and Lee LLP                                                    H
Po Box 3001
Malvern, PA 19355
                                                                                                                                                                         922.00
Account No. xxxxxxxxxxx1009

American Express                                                              Representing:
PO Box 297871                                                                 American Express                                                                     Notice Only
Fort Lauderdale, FL 33329



Account No. xx0748                                                            2010
                                                                              Medical/Dental Services
Associates for Endodontics
720 S Brom Dr., Ste 102                                                   J
Naperville, IL 60540

                                                                                                                                                                         758.00
Account No. xxxxxxxxxxxx6793                                                  Opened 10/01/98 Last Active 7/24/10
                                                                              CreditCard
Bank Of America
Attn: Bankruptcy NC4-105-03-14                                            J
Po Box 26012
Greensboro, NC 27410
                                                                                                                                                                       7,276.00

                                                                                                                                        Subtotal
 7
_____ continuation sheets attached                                                                                                                                     8,956.00
                                                                                                                              (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx8870                                                  Opened 1/01/04 Last Active 7/13/10                      E
                                                                              CreditCard                                              D

Bank Of America
Po Box 17054                                                              J
Wilmington, DE 19850

                                                                                                                                                          4,888.00
Account No. xxxxxxxxxxxx5595                                                  Opened 8/01/01 Last Active 7/09/10
                                                                              CreditCard
Capital One, N.a.
Bankruptcy Dept                                                           J
Po Box 5155
Norcross, GA 30091
                                                                                                                                                        12,999.00
Account No. xxxxxxxxxxxx4934                                                  Opened 2/01/09 Last Active 7/19/10
                                                                              ChargeAccount
Capital One, N.a.
Bankruptcy Dept                                                           J
Po Box 5155
Norcross, GA 30091
                                                                                                                                                          5,803.00
Account No. xxxxxxxxxxxx3109                                                  Opened 5/01/03 Last Active 7/25/10
                                                                              CreditCard
Chase
P.o. Box 15298                                                            J
Wilmington, DE 19850

                                                                                                                                                        12,126.00
Account No. xxxxxxxxxxxx7164                                                  Opened 3/01/07 Last Active 8/08/10
                                                                              CreditCard
Chase
Po Box 15298                                                              H
Wilmington, DE 19850

                                                                                                                                                        10,832.00

           1
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                        46,648.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
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Account No. 4461                                                              Medical                                                 E
                                                                                                                                      D

Dinesh Patel
405 N Eola Rd                                                             J
Aurora, IL 60502

                                                                                                                                                            175.00
Account No. xxxxxxxxxxxx6887                                                  Opened 12/01/01 Last Active 7/16/10
                                                                              CreditCard
Discover Fin
Po Box 6103                                                               J
Carol Stream, IL 60197

                                                                                                                                                          7,533.00
Account No.

Capital Management Services, LP                                               Representing:
726 Exchange Street, Suite 700                                                Discover Fin                                                            Notice Only
Buffalo, NY 14210



Account No.

FMA Alliance, Ltd                                                             Representing:
P.O.Box 2409                                                                  Discover Fin                                                            Notice Only
Houston, TX 77252-2409



Account No. 9186                                                              Medical

Dr Keegan PsyD
1831 Bay Scott Circle, Ste 105                                            J
Naperville, IL 60540

                                                                                                                                                            532.00

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Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          8,240.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
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Account No. xx1192                                                            Medical                                                 E
                                                                                                                                      D

Dr Vagaria
15921 Collection Center Dr                                                J
Chicago, IL 60693

                                                                                                                                                            334.00
Account No. xxxxxxx4536

DSNB
c/o Northland Group                                                       J
P.O.Box 390846
Minneapolis, MN 55439
                                                                                                                                                            299.00
Account No. xx1192                                                            2010
                                                                              Medical or Dental Services
DuPage Medical Group
1860 Paysphere Circle                                                     J
Chicago, IL 60674

                                                                                                                                                          1,334.00
Account No. xxxxx0485

DuPage Medical                                                                Representing:
15921 Collections Center Dr                                                   DuPage Medical Group                                                    Notice Only
Chicago, IL 60693



Account No. xxxxxx5112                                                        2010
                                                                              Medical
Edward Hospital
P.O.Box 4207                                                              J
Carol Stream, IL 60197

                                                                                                                                                            450.00

           3
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          2,417.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                                                                                                                                  N   A
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Account No.                                                                                                                           E
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Edward Hospital                                                               Representing:
801 S. Washington St.                                                         Edward Hospital                                                         Notice Only
Naperville, IL 60566



Account No. xxxx9020

Edward Hospital                                                               Representing:
P.O.Box 843442                                                                Edward Hospital                                                         Notice Only
Kansas City, MO 64184



Account No. xxxxxxxxxxxx1713                                                  Opened 3/01/07 Last Active 9/29/08
                                                                              ChargeAccount
Gemb/gap
Po Box 981400                                                             H
El Paso, TX 79998

                                                                                                                                                            219.00
Account No. xxxxxxxxxxxx3032                                                  Opened 10/01/06 Last Active 2/03/09
                                                                              CreditCard
Gemb/ikea
Po Box 981400                                                             H
El Paso, TX 79998

                                                                                                                                                            152.00
Account No. xxxxxxxxxxxx7108                                                  Opened 7/01/04 Last Active 7/13/10
                                                                              ChargeAccount
Gemb/jcp
Attention: Bankruptcy                                                     H
Po Box 103104
Roswell, GA 30076
                                                                                                                                                          1,539.00

           4
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          1,910.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. x1051                                                             Medical                                                 E
                                                                                                                                      D

Grove Dental
406 W Boughton                                                            J
Bolingbrook, IL 60440

                                                                                                                                                            200.00
Account No. xxxxxxxxxxxx7073                                                  Opened 4/01/10 Last Active 7/13/10
                                                                              CreditCard
Hsbc Bank
Attn: Bankruptcy                                                          J
Po Box 5213
Carol Stream, IL 60197
                                                                                                                                                            875.00
Account No. xxxxxxxxxxxx6006                                                  Opened 7/01/10 Last Active 12/31/10
                                                                              ChargeAccount
Hsbc Best Buy
Attn: Bankruptcy                                                          J
Po Box 5263
Carol Stream, IL 60197
                                                                                                                                                          2,003.00
Account No.

HSBC Retail Services                                                          Representing:
P.O.Box 17298                                                                 Hsbc Best Buy                                                           Notice Only
Baltimore, MD 21297



Account No. xxxxxxxxxxxx6257                                                  Opened 10/01/09 Last Active 7/13/10
                                                                              ChargeAccount
Hsbc/carsn
Pob 15521                                                                 J
Wilmington, DE 19805

                                                                                                                                                              24.00

           5
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          3,102.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                Case No.
                Amy B Kreutzer
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. x9938                                                                                                                     E
                                                                                                                                      D

Janina Badowska
10 W Martin Ave., Ste 140                                                 J
Naperville, IL 60540

                                                                                                                                                            483.00
Account No. xx7200                                                            2010
                                                                              Medical
Kinnally, Flaherty, Krentz & Loran
2114 Deerpath Road                                                        J
Aurora, IL 60506

                                                                                                                                                            220.00
Account No. xxxxxxxx6852                                                      Opened 1/01/05 Last Active 7/12/10
                                                                              ChargeAccount
Kohls
Attn: Recovery Dept                                                       J
Po Box 3120
Milwaukee, WI 53201
                                                                                                                                                            649.00
Account No. xxxxxxxxxxxx5790                                                  Opened 11/01/04 Last Active 7/14/10
                                                                              ChargeAccount
Lowes / MBGA
Attention: Bankruptcy Department                                          H
Po Box 103104
Roswell, GA 30076
                                                                                                                                                            697.00
Account No.

Leading Edge Recovery                                                         Representing:
5440 N. Cumberland Ave., Suite 300                                            Lowes / MBGA                                                            Notice Only
Chicago, IL 60656-1490



           6
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                          2,049.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Jeffery J Kreutzer,                                                                                      Case No.
                Amy B Kreutzer
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
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                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xx5567                                                            Medical                                                        E
                                                                                                                                             D

M & M Orthopaedic
4300 Commerce St, Ste 230                                                 J
Lisle, IL 60532

                                                                                                                                                                     14.00
Account No. xxxxxxxxx3620                                                     Opened 3/01/96 Last Active 7/12/10
                                                                              ChargeAccount
Macys/fdsb
Attn: Bankruptcy                                                          J
Po Box 8053
Mason, OH 45040
                                                                                                                                                                   300.00
Account No. x5469                                                             2010
                                                                              Medical
Midwest Center for Adv. Imaging
4355 Montgomery Rd.                                                       J
Naperville, IL 60564

                                                                                                                                                                     49.00
Account No. x2162                                                             Medical

Riaz A Baber, MD
1460 Bond St., Ste 130                                                    J
Naperville, IL 60563

                                                                                                                                                                     91.00
Account No. xx6401                                                            2010

Symed, Inc
P.O.Box 4947                                                              J
Carol Stream, IL 60122

                                                                                                                                                                   184.00

           7
Sheet no. _____     7
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                                   638.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                73,960.00


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B6G (Official Form 6G) (12/07)


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 In re             Jeffery J Kreutzer,                                                                         Case No.
                   Amy B Kreutzer
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Jeffery J Kreutzer,                                                                     Case No.
                Amy B Kreutzer
                                                                                              ,
                                                                             Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          Jeffery J Kreutzer
 In re    Amy B Kreutzer                                                                                Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         12
                                             Son                                                         2
                                             Daughter                                                    7
Employment:*                                          DEBTOR                                                       SPOUSE
Occupation                          Bread Dist
Name of Employer                    Chicago Baking                                           Housewife
How long employed                   1 yr
Address of Employer                 909 S Rt. 83
                                    Elmhurst, IL 60126
*See Attachment for Additional Employment Information
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       1,787.28         $            0.00
2. Estimate monthly overtime                                                                             $       3,119.70         $            0.00

3. SUBTOTAL                                                                                              $         4,906.98       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             720.63     $             0.00
     b. Insurance                                                                                        $               0.00     $             0.00
     c. Union dues                                                                                       $               0.00     $             0.00
     d. Other (Specify):                                                                                 $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             720.63     $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         4,186.35       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $               0.00     $             0.00
8. Income from real property                                                                             $               0.00     $             0.00
9. Interest and dividends                                                                                $               0.00     $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $               0.00     $             0.00
11. Social security or government assistance
(Specify):                                                                                               $               0.00     $             0.00
                                                                                                         $               0.00     $             0.00
12. Pension or retirement income                                                                         $               0.00     $             0.00
13. Other monthly income
(Specify):           Part time job                                                                       $             428.00     $             0.00
                                                                                                         $               0.00     $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             428.00     $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         4,614.35       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            4,614.35
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6I (Official Form 6I) (12/07)

          Jeffery J Kreutzer
 In re    Amy B Kreutzer                                                              Case No.
                                                                  Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                               Attachment for Additional Employment Information

Debtor
Occupation
Name of Employer                 Caputos New Farm Produce
How long employed
Address of Employer              1188 Fulleton Ave
                                 Addison, IL 60101
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B6J (Official Form 6J) (12/07)

          Jeffery J Kreutzer
 In re    Amy B Kreutzer                                                                      Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                  985.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  275.00
                   b. Water and sewer                                                                        $                   60.00
                   c. Telephone                                                                              $                  100.00
                   d. Other See Detailed Expense Attachment                                                  $                  230.00
3. Home maintenance (repairs and upkeep)                                                                     $                  100.00
4. Food                                                                                                      $                  550.00
5. Clothing                                                                                                  $                  200.00
6. Laundry and dry cleaning                                                                                  $                   40.00
7. Medical and dental expenses                                                                               $                  100.00
8. Transportation (not including car payments)                                                               $                  275.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   50.00
10. Charitable contributions                                                                                 $                   50.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                   75.00
                   b. Life                                                                                   $                  100.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                   75.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Real estate taxes                                                                 $                  650.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other Second mortgage                                                                  $                  185.00
                   c. Other Homeowners association                                                           $                   18.33
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other See Detailed Expense Attachment                                                                    $                  475.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                4,593.33
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                4,614.35
b. Average monthly expenses from Line 18 above                                                               $                4,593.33
c. Monthly net income (a. minus b.)                                                                          $                   21.02
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B6J (Official Form 6J) (12/07)
          Jeffery J Kreutzer
 In re    Amy B Kreutzer                                                    Case No.
                                                        Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                            Detailed Expense Attachment
Other Utility Expenditures:
Cable                                                                                  $            80.00
Cell phone- family plan                                                                $           150.00
Total Other Utility Expenditures                                                       $           230.00




Other Expenditures:
Auto Repairs / Maintenence/Lic/Fees                                                    $           200.00
Haircuts / Personal Care                                                               $           150.00
School expenses/fees/supplies                                                          $            50.00
Pet care/food                                                                          $            75.00
Total Other Expenditures                                                               $           475.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
            Jeffery J Kreutzer
 In re      Amy B Kreutzer                                                                                  Case No.
                                                                                   Debtor(s)                Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of            23
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date April 15, 2011                                                   Signature   /s/ Jeffery J Kreutzer
                                                                                   Jeffery J Kreutzer
                                                                                   Debtor


 Date April 15, 2011                                                   Signature   /s/ Amy B Kreutzer
                                                                                   Amy B Kreutzer
                                                                                   Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
             Jeffery J Kreutzer
 In re       Amy B Kreutzer                                                                                    Case No.
                                                                                Debtor(s)                      Chapter        7


                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $18,658.36                        2011 YTD: Husband Employment Income
                          $58,601.22                        2010: Husband Employment Income
                          $10,513.92                        2009: Husband Employment Income
                          $0.00                             2011 YTD: Wife Employment Income
                          $213.35                           2010: Wife Employment Income
                          $236.65                           2009: Wife Employment Income
                          $0.00                             2011 YTD: Husband Business Income
                          $0.00                             2010: Husband Business Income
                          $68,178.00                        2009: Husband Business Income ($68,178.00 gross, net of $29,437.00)

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              2. Income other than from employment or operation of business

     None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
              each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
              petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                              SOURCE
                        $58.00                              2010: Taxable refunds
                        $157.00                             2009: Taxable refunds
                        $-10,000.00                         2009: Capital Gains Loss
                        $-3,000.00                          2010: Capital Gains Loss

              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF       COURT OR AGENCY                                   STATUS OR
    AND CASE NUMBER                                                    PROCEEDING      AND LOCATION                                      DISPOSITION

     None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)
*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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NAME AND ADDRESS OF PERSON FOR WHOSE                                                       DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE            PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                    TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                        DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                  ORDER                    PROPERTY

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                            DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT             VALUE OF GIFT
Amvets                                                    None                               various dates           Misc items, value of
                                                                                                                     @$500.00

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS




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                                                                                                                                                            4

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                           DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                        NAME OF PAYOR IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                                  THAN DEBTOR                                   OF PROPERTY
LEDFORD & WU                                                            2010-2011                                   $1500.00
200 S. Michigan Avenue, Suite 209
Chicago, IL 60604-2406
Greenpath Debt Solutions                                                2011                                        $100.00
38505 Country Club Drive, Suite 210
Farmington, MI 48331
CIN Legal Data Services                                                 2011                                        $40.00
4540 Honeywell Ct
Dayton, OH 45424

             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
      RELATIONSHIP TO DEBTOR                                           DATE                           AND VALUE RECEIVED
Jim Di Figlo/Buchunter Transport, Inc                                  9/21/2009              Husband sold his Aurora FedEx Ground delivery
                                                                                              route contract for $25,000.00
     none

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)            IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                  AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                           OR CLOSING
Old Second National Bank                                                Savings account                              Closed July 2010 with zero
37 S. River Street                                                                                                   balance
Aurora, IL 60507




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             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                      DATES OF OCCUPANCY

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW


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                                                                                                                                                             6
   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                       DATE OF                       ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                         NOTICE                        LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                  STATUS OR DISPOSITION

             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
Jeffrey J Kreutzer              3367                             2723 Hillsboro Blvd            Delivery                         1992-2009
                                                                 Aurora, IL 60503

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.




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                                                                                                                                                              7


NAME                                            ADDRESS                                                  DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED

             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                  DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                             DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                              OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                 VALUE OF PROPERTY



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                                                                                                                                                                   8

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date April 15, 2011                                                    Signature   /s/ Jeffery J Kreutzer
                                                                                   Jeffery J Kreutzer
                                                                                   Debtor


Date April 15, 2011                                                    Signature   /s/ Amy B Kreutzer
                                                                                   Amy B Kreutzer
                                                                                   Joint Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
            Jeffery J Kreutzer
 In re      Amy B Kreutzer                                                                                    Case No.
                                                                                   Debtor(s)                  Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                   Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                              Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                         Lease will be Assumed pursuant to 11
 -NONE-                                                                                                     U.S.C. § 365(p)(2):
                                                                                                               YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date April 15, 2011                                                   Signature   /s/ Jeffery J Kreutzer
                                                                                   Jeffery J Kreutzer
                                                                                   Debtor


 Date April 15, 2011                                                   Signature   /s/ Amy B Kreutzer
                                                                                   Amy B Kreutzer
                                                                                   Joint Debtor




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                                                                  Northern District of Illinois
             Jeffery J Kreutzer
 In re       Amy B Kreutzer                                                                                   Case No.
                                                                               Debtor(s)                      Chapter       7


                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,500.00
             Prior to the filing of this statement I have received                                        $                     1,500.00
             Balance Due                                                                                  $                         0.00

2.    The source of the compensation paid to me was:

                  Debtor               Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor               Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Preparation and filing of bankruptcy petition; attending meeting of creditors; exemption planning; negotiation of
                 reaffirmation agreements; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
                 liens on household goods; motions for relief from stay

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Adversary proceedings; conversion; post-discharge litigation; appeals
              In a Chapter 7 case: redemption, judicial lien avoidance, amending a petition, list, schedule or statement
              postpetition not due to counsel's fault, and attending additional creditors' meetings due to the debtor's failure to
              appear at the first meeting without a good reason or prior notice.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       April 15, 2011                                                   /s/ Orlando Velazquez ARDC No.
                                                                              Orlando Velazquez ARDC No. 6210326
                                                                              LEDFORD & WU
                                                                              200 S. Michigan Avenue, Suite 209
                                                                              Chicago, IL 60604-2406
                                                                              (312) 294-4400 Fax: (312) 294-4410
                                                                              notice@ledfordwu.com




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

           Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
           $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Jeffery J Kreutzer
 In re     Amy B Kreutzer                                                                                  Case No.
                                                                                 Debtor(s)                 Chapter        7


                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Jeffery J Kreutzer
Amy B Kreutzer                                                                     X /s/ Jeffery J Kreutzer                      April 15, 2011
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                         Date

Case No. (if known)                                                                X /s/ Amy B Kreutzer                          April 15, 2011
                                                                                     Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Jeffery J Kreutzer
 In re     Amy B Kreutzer                                                                               Case No.
                                                                                  Debtor(s)             Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 40




           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




Date:      April 15, 2011                                              /s/ Jeffery J Kreutzer
                                                                       Jeffery J Kreutzer
                                                                       Signature of Debtor

Date:      April 15, 2011                                              /s/ Amy B Kreutzer
                                                                       Amy B Kreutzer
                                                                       Signature of Debtor




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                      American Express
                      c/o Becket and Lee LLP
                      Po Box 3001
                      Malvern, PA 19355


                      American Express
                      PO Box 297871
                      Fort Lauderdale, FL 33329


                      Associates for Endodontics
                      720 S Brom Dr., Ste 102
                      Naperville, IL 60540


                      Bank Of America
                      Attn: Bankruptcy NC4-105-03-14
                      Po Box 26012
                      Greensboro, NC 27410


                      Bank Of America
                      Po Box 17054
                      Wilmington, DE 19850


                      Capital Management Services, LP
                      726 Exchange Street, Suite 700
                      Buffalo, NY 14210


                      Capital One, N.a.
                      Bankruptcy Dept
                      Po Box 5155
                      Norcross, GA 30091


                      Chase
                      Po Box 1093
                      Northridge, CA 91328


                      Chase
                      Po Box 901039
                      Fort Worth, TX 76101


                      Chase
                      P.o. Box 15298
                      Wilmington, DE 19850
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                  Chase
                  Po Box 15298
                  Wilmington, DE 19850


                  Dinesh Patel
                  405 N Eola Rd
                  Aurora, IL 60502


                  Discover Fin
                  Po Box 6103
                  Carol Stream, IL 60197


                  Dr Keegan PsyD
                  1831 Bay Scott Circle, Ste 105
                  Naperville, IL 60540


                  Dr Vagaria
                  15921 Collection Center Dr
                  Chicago, IL 60693


                  DSNB
                  c/o Northland Group
                  P.O.Box 390846
                  Minneapolis, MN 55439


                  DuPage Medical
                  15921 Collections Center Dr
                  Chicago, IL 60693


                  DuPage Medical Group
                  1860 Paysphere Circle
                  Chicago, IL 60674


                  Edward Hospital
                  P.O.Box 4207
                  Carol Stream, IL 60197


                  Edward Hospital
                  801 S. Washington St.
                  Naperville, IL 60566


                  Edward Hospital
                  P.O.Box 843442
                  Kansas City, MO 64184
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                  FMA Alliance, Ltd
                  P.O.Box 2409
                  Houston, TX 77252-2409


                  Gemb/gap
                  Po Box 981400
                  El Paso, TX 79998


                  Gemb/ikea
                  Po Box 981400
                  El Paso, TX 79998


                  Gemb/jcp
                  Attention: Bankruptcy
                  Po Box 103104
                  Roswell, GA 30076


                  Grove Dental
                  406 W Boughton
                  Bolingbrook, IL 60440


                  Hsbc Bank
                  Attn: Bankruptcy
                  Po Box 5213
                  Carol Stream, IL 60197


                  Hsbc Best Buy
                  Attn: Bankruptcy
                  Po Box 5263
                  Carol Stream, IL 60197


                  HSBC Retail Services
                  P.O.Box 17298
                  Baltimore, MD 21297


                  Hsbc/carsn
                  Pob 15521
                  Wilmington, DE 19805


                  Janina Badowska
                  10 W Martin Ave., Ste 140
                  Naperville, IL 60540
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                  Kinnally, Flaherty, Krentz & Loran
                  2114 Deerpath Road
                  Aurora, IL 60506


                  Kohls
                  Attn: Recovery Dept
                  Po Box 3120
                  Milwaukee, WI 53201


                  Leading Edge Recovery
                  5440 N. Cumberland Ave., Suite 300
                  Chicago, IL 60656-1490


                  Lowes / MBGA
                  Attention: Bankruptcy Department
                  Po Box 103104
                  Roswell, GA 30076


                  M & M Orthopaedic
                  4300 Commerce St, Ste 230
                  Lisle, IL 60532


                  Macys/fdsb
                  Attn: Bankruptcy
                  Po Box 8053
                  Mason, OH 45040


                  Midwest Center for Adv. Imaging
                  4355 Montgomery Rd.
                  Naperville, IL 60564


                  Riaz A Baber, MD
                  1460 Bond St., Ste 130
                  Naperville, IL 60563


                  Symed, Inc
                  P.O.Box 4947
                  Carol Stream, IL 60122
